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                  DISTRICT COURT OF THE VIRGIN ISLANDS
                          DIVISION OF ST. CROIX
CLIFFORD BOYNES, et al.,                )
                                        )    Civil Action No. 2021-0253
           Plaintiffs,                 )
                                       )
           v.                          )
                                        )
LIMETREE BAY VENTURES, LLC, et al.,    )
                                        )
           Defendants.                 )
                                       )
                                        )
HELEN SHIRLEY, et al.,                  )
                                        )    Civil Action No. 2021-0259
           Plaintiffs,                 )
                                       )
           v.                          )
                                        )
LIMETREE BAY VENTURES, LLC, et al.,    )
                                        )
           Defendants.                 )
                                       )
                                        )
FRANCIS E. CHARLES and THERESA J.      )
CHARLES,                               )
                                        )    Civil Action No. 2021-0260
           Plaintiffs,                 )
                                       )
           v.                          )
                                        )
LIMETREE BAY VENTURES, LLC, et al.,    )
                                        )
           Defendants.                 )
                                       )
                                        )
BEECHER COTTON, et al.,                )
                                        )    Civil Action No. 2021-0261
           Plaintiffs,                 )
                                       )
           v.                          )
                                        )
LIMETREE BAY VENTURES, LLC, et al.,    )
                                        )
           Defendants.                 )
                                       )
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                        LBT’S FIRST AMENDED WITNESS LIST

        Pursuant to the Court’s February 2, 2023 Order, Defendant Limetree Bay Terminals,

LLC d/b/a Ocean Point Terminals (“LBT”) submits this list of witnesses it expects to present

by live testimony at the entitlement hearing commencing on March 2, 2023. LBT reserves the

right to call all persons identified as witnesses by Plaintiffs; to call additional witnesses to

authenticate, or otherwise lay the foundation for admission of, evidence; or to call witnesses for

purposes of impeachment or rebuttal. Witnesses are listed in alphabetical order, not necessarily

in the order in which Defendant intends to present the witnesses at the hearing:

         Witness                           Description of Testimony                   Format

Maria Ayolo                    Shared Services;
                                                                                        Live
                               LBT & LBR Permit requirements

Jeffry Charles                 Incident Response;
                               LBT operations;
                               LBT & LBR Permit requirements;
                                                                                        Live
                               Shared Services;
                               Location of LBT land and operations;
                               Location of LBR land and operations

Charles A. Menzie, Ph.D.       Health and Environmental regulations and
                               standards and associated risk methodologies for
                               evaluating petroleum hydrocarbons in water and           Live
                               soils.


Karen J. Murray, Ph.D          Environmental data analysis;                             Live



        LBT makes this disclosure based on its best information available to date, and LBT

reserves its right to seek leave to amend and further reserves its right to arrange remote live

testimony by any of these witnesses in the event they are unable to attend in person.

                                             Respectfully submitted,
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